     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 1 of 29




                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION


LEAGUE OF WOMEN VOTERS OF
FLORIDA, INC., et al.,

      Plaintiffs,

      v.                                      Case No. 4:23-cv-216-MW/MAF

CORD BYRD, in his official capacity as
Florida Secretary of State, et al.,

     Defendants.
__________________________________/

THE SECRETARY OF STATE’S MOTION FOR SUMMARY JUDGMENT
 AND MEMORANDUM AS TO THE LEAGUE PLAINTIFFS’ FELON-
               RESTRICTION CHALLENGE

      Secretary of State Cord Byrd moves this Court to enter summary judgment as to

the League Plaintiffs’ free-speech claim (Count I), free-association claim (Count II),

overbreadth claim (Count III), and vagueness claim (Count IV) against SB7050’s Felon

Restriction. Doc.1. Material facts aren’t in dispute, making summary judgment

appropriate.




                                          1
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 2 of 29




                                   I. Introduction

      SB7050’s Felon Restriction prevents felons convicted of violating the Election

Code, exploiting the elderly and disabled, sexual offenses and murder, fraud, forgery,

counterfeiting, and perjury from collecting or handling completed voter-registration

forms for third-party voter registration organizations (“3PVROs”). 1 Felons who have

flouted the Election Code, who have taken advantage of vulnerable populations, who

have committed extremely violent offenses (and who may not have their voting rights

restored), and who have veracity issues shouldn’t be able to collect or handle forms

with voters’ drivers license numbers, identification card numbers, and signatures. This

is for good reason: 3PVROs have behaved badly in Florida. Felon 3PVRO canvassers,

in particular, have committed fraud and other crimes when registering Floridians to

vote, to the detriment of those voters, and to the annoyance of Florida law enforcement.

      Plaintiffs take issue with the Felon Restriction. Their arguments, however, are

unconvincing. They contend that the restriction hampers the organizations’ and

volunteers’ free speech. But the restriction doesn’t prohibit conversations with voters;

it only prevents certain felons from physically exercising custody over completed voter-

registration forms and moving such forms from Point A to Point B. That’s non-

expressive conduct, not speech. Plaintiffs contend that the restriction hampers free


      1
         The restriction applies to felons who collect or handle completed forms or
partially filled out forms—i.e., forms with voter information on them. When the
Secretary refers to “completed forms” in this motion, he means partially filled out forms
as well.
                                           2
      Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 3 of 29




association. But the restriction still allows Plaintiffs to freely associate with felons who

violate the Election Code, those who exploit the elderly and disabled, and those who

commit sexual offenses, murder, fraud, forgery, counterfeiting, and perjury. The one

thing they can’t do is allow such felons to take physical custody of completed voter-

registration forms containing voters’ personal information. Plaintiffs also contend that

the restriction is overbroad and vague. But the restriction contains clear language and

enumerates specific felonies. The Department of State has also promulgated rules to

reiterate the restriction’s plain aims. The restriction is clear and is made clearer still.

       In short, Plaintiffs’ arguments fail. In any event, it’s also unlikely that Plaintiffs

have standing to challenge the Felon Restriction: they can’t confirm with any certainty

whether an excluded felon has ever helped them with registration activities, and

Plaintiffs don’t conduct background checks on members and volunteers. So they have

no way of knowing whether excluded felons have helped or will help them with

registration activities. Moreover, Plaintiffs’ reaction to the Felon Restriction—to

prohibit all members and volunteers from conducting “paper” registration activities—

is a self-imposed harm.

       For these reasons, this Court should enter summary judgment in favor of the

Secretary on Plaintiffs’ challenge to the Felon Restriction. There’s no dispute as to the

material facts, and the Secretary is entitled to judgment as a matter of law.




                                              3
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 4 of 29




                            II. Undisputed Material Facts

       The Secretary begins by discussing Florida’s issues with 3PVROs. Then he

discusses SB7050’s Felon Restriction and the Department of State’s rulemaking

pertaining to it. The Secretary concludes by discussing Plaintiffs’ registration activities

and their challenge to the Felon Restriction.

A.     Florida’s Trouble with 3PVROs.

       It is undisputed that 3PVROs have behaved badly in Florida. In 2022 alone,

Florida’s Office of Election Crimes and Security “reviewed approximately 3,077 voter

registration applications that were collected and submitted untimely by 3PVROs.”

Doc.86-1 at 5. 2 Not only that, the office:

       [M]ade a number of criminal referrals related to 3PVROs; specifically, the
       referrals targeted voter registration agents employed by 3PVROs, who are
       alleged to have committed fraud, engaged in identity theft, changed a
       voter’s party affiliation, registered deceased individuals, or registered fake
       individuals, among other violations. Many of these criminal referrals are
       still pending and remain under active criminal investigation with law
       enforcement.

Doc.86-1 at 5. Take one badly behaving 3PVRO: Hard Knocks. It received four fine

letters in less than one year for causing harm to over 2,500 voter registrants. Docs.86-

2, 86-3, 86-4, 86-5. In two of the letters, Hard Knocks’s fine could have been as high

as $191,500, but due to statutory caps, the fine was limited to $33,400. Doc.86-5 at 1.




      Doc.86 contains the exhibits to this motion; page citations are to the blue page
       2

number in the upper-right corner.
                                         4
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 5 of 29




      Hard Knocks also used felons to assist with its registration activities. It

“conduct[ed] no or limited background checks on their canvassers who” were “asked

to handle sensitive” voter “information.” Doc.86-6 at 15. One Hard Knocks

employee—a supervisor—said that “he was instructed to hire just about anyone who

walked into the office seeking a job.” Doc.86-6 at 14.

      Hard Knocks thus had a canvasser, Eugene Florence, who was a “fifteen-time

convicted felon.” Doc.86-6 at 15. A criminal investigation concluded that he “willfully

submitted at least six false voter registration applications” while working for Hard

Knocks. Doc.86-6 at 16. Another Hard Knocks canvasser was Roderica Cody. She “had

been convicted of Battery two or more times along with petit theft.” Doc.86-6 at 15.

The same criminal investigation found that she “willfully submitted at least three false

voter registration applications.” Doc.86-6 at 16.

      The investigation concluded that “six canvassers,” and “specifically Roderica

Cody, employed by Hard Knocks Strategies LLC, a 3PVRO[,] submitted twenty-nine

fraudulent voter applications to the Lee County Office of the Supervisor of Elections.”

Doc.86-6 at 10, 16.

      Against this backdrop, Florida sought to tighten its 3PVRO laws. The Office of

Election Crimes and Security provided the Florida Legislature with 3PVRO issues in its

2023 report. E.g., Doc.38-1 at 82-93, ¶ 7.




                                             5
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 6 of 29




B.    Florida Passes SB7050.

      In 2023, the Florida Legislature passed, and the Governor signed into law,

SB7050. Among its many aims, the law tightens up 3PVRO regulations. In particular,

it prevents individuals with certain felonies from collecting or handling completed

voter-registration forms for 3PVROs:

             (1) Before engaging in any voter registration activities, a third-party
      voter registration organization must register and provide to the division,
      in an electronic format, the following information:
      ...
             (e) An affirmation that each person collecting or handling voter
      registration applications on behalf of the third-party voter registration
      organization has not been convicted of a felony violation of the Election
      Code, a felony violation of an offense specified in s. 825.103 [exploitation
      of an elderly or disabled adult], a felony offense specified in s.
      98.0751(2)(b) or (c) [felony sexual offense or murder], or a felony offense
      specified in chapter 817 [fraud], chapter 831 [forgery or counterfeiting],
      or chapter 837 [perjury].
      A third-party voter registration organization is liable for a fine in the
      amount of $50,000 for each such person who has been convicted of a
      felony violation of the Election Code, a felony violation of an offense
      specified in s. 825.103, a felony offense specified in s. 98.0751(2)(b) or (c),
      or a felony offense specified in chapter 817, chapter 831, or chapter 837
      who is collecting or handling voter registration applications on behalf of
      the third-party voter registration organization.

Ch. 2023-120, § 4, Laws of Fla. (2023) (space added for readability). This language is

now codified in Florida Statute § 97.0575. The Secretary has offered a number of

governmental interests in support of the Felon Restriction. Doc.86-7 at 1-3.




                                            6
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 7 of 29




C.    The Department of State Passes Rules.

      The Department of State reiterated SB7050’s clear aims through rulemaking.

Two provisions are relevant here. The first states that if a person collecting or handling

applications on behalf of a 3PVRO signs a form, attesting that he or she isn’t an

excluded felon, the 3PVRO won’t be fined if, in fact, the person is an excluded felon:

      A 3PVRO may, pursuant to section 97.0575(1)(e)-(f), F.S., require each
      person collecting or handling voter registration applications on behalf of
      the 3PVRO to sign written declarations using Form DS-DE 127 declaring
      under penalty of perjury that he or she has not been convicted of a felony
      enumerated in section 97.0575(1)(e), F.S. . . . A 3PVRO shall not be
      subject to a fine pursuant to section 97.0575(1)(e)-(f), F.S., as applicable,
      for permitting a felon . . . to handle or collect voter registration
      applications on behalf of the 3PVRO if the 3PVRO has a Form DS-DE
      127 signed by the felon . . . prior to collecting or handling voter registration
      applications on behalf of the 3PVRO.

Doc.86-8 at 3; Fla. Admin. Code. R. 1S-2.042(6)(e).

      The second underscores the commonsense understanding of “collecting” and

“handling” voter-registration forms:

      “Collecting or handling,” for purposes of section 97.0575(1)(e)-(f), F.S.,
      means physically exercising custody over voter registration applications
      containing a voter’s personal information. It does not include distributing
      blank voter registration applications, supervising the collecting or
      handling of voter registration applications, assisting a voter who requests
      assistance to fill out their voter registration application, or facilitating the
      voter to register electronically through registertovoteflorida.gov.

Doc.86-8 at 1; Fla. Admin. Code. R. 1S-2.042(3)(c).




                                             7
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 8 of 29




D.     Plaintiffs’ Registration Activities and Challenge Against SB7050.

       Plaintiffs conduct registration activities. Yet they don’t conduct criminal

background checks on “prospective employees, volunteers, and other agents who

collect or handle voting registration applications on” their “behalf.” Doc.86-9 at 24.

Plaintiffs also aren’t completely sure (and have no way of knowing due to the lack of

criminal background checks) whether felons convicted of violating the Election Code,

exploiting the elderly and disabled, sexual offenses and murder, fraud, forgery,

counterfeiting, and perjury have collected or handled voter-registration forms for

Plaintiffs during the 2018, 2020, and 2022 election cycles. Doc.86-9 at 24-25.

       In response to SB7050’s Felon Restriction, Plaintiffs are preventing everyone—

felons or otherwise—from conducting “paper” registration activities. Doc.86-9 at 25-

26. This doesn’t include encouraging eligible voters to register, but it includes taking

completed paper voter-registration forms and delivering them to the proper

governmental office. Plaintiffs, moreover, responded by initiating this lawsuit against

the State. As to the Felon Restriction, they allege that it violates their free-speech rights

(Count I), violates their free-association rights (Count II), is overbroad (Count III), and

is vague (Count IV). Doc.1. (Plaintiffs challenge other SB7050 provisions as well.)

       Of the three plaintiff groups in the three SB7050-consolidated cases, the League

Plaintiffs here are the only ones challenging the Felon Restriction. The Hispanic

Federation Plaintiffs never challenged it, see 4:23-cv-218, Doc.1 & 79, and the NAACP


                                             8
      Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 9 of 29




Plaintiffs initially did, see 4:23-cv-215, Doc.1, but then dropped it, see 4:23-cv-215,

Doc.184.

                                   III. Legal Standard

       Summary judgment is appropriate when, as here, “the movant shows that there

is no genuine dispute as to any material fact and the movant is entitled to judgment as

a matter of law.” Fed. R. Civ. P. 56(a). While inferences are viewed in favor of the non-

moving party, the non-moving party can’t rely on conclusory or unsubstantiated

statements and discovery responses. See, e.g., TocMail, Inc. v. Microsoft Corp., 67 F.4th 1255,

1264-65 (11th Cir. 2023); McKenny v. United States, 973 F.3d 1291, 1303 (11th Cir. 2020).

                                      IV. Argument

       There’s no dispute over material facts. Plaintiffs’ free-speech claim fails because

the Felon Restriction prevents non-expressive conduct; it doesn’t touch speech.

Plaintiffs’ free-association claim fails because the restriction still allows Plaintiffs to

associate with anyone, including any felon. Plaintiffs’ overbreadth and vagueness claims

fail because the Felon Restriction’s language is specific and clear, and the Department

of State’s rules underscore that specific and clear language. In any event, as a threshold

matter, Plaintiffs will be unable to satisfy their burden of establishing Article III standing

and explain why their facial challenge—the hardest constitutional challenge—should be

allowed to move forward.




                                              9
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 10 of 29




A.     Plaintiffs’ Claims Are Not Justiciable.

       1.     Plaintiffs Lack Standing to Challenge the Felon Restriction.

       To be sure, it is Plaintiffs’ burden to prove standing “at each stage of the case.”

League of Women Voters of Fla. v. Lee, 2021 U.S. Dist. LEXIS 254570, at *17 n.5 (N.D.

Fla. Dec. 17, 2021). But Plaintiffs don’t have standing to challenge the Felon Restriction

for three reasons.

       First, Plaintiffs incurred self-imposed harms. Their reaction to SB7050’s Felon

Restriction was to prevent all members and volunteers from conducting “paper”

registration activities. Doc.86-9 at 25-26. They didn’t need to do that. The restriction

affects only a subset of felons, and the restriction doesn’t touch non-felons. Plaintiffs’

reaction is, in effect, excessive. Self-imposed harms aren’t injuries in fact. City of S. Miami

v. Governor of Fla., 65 F.4th 631, 640 (11th Cir. 2023).

       Plaintiffs may argue that their reaction is due to the overall effect of SB7050—

its citizen-volunteer restriction, its information-retention requirements, and so on. But

Plaintiffs must link their injury to a specific challenged statutory provision, here, the

Felon Restriction. Camp Legal Def. Fund, Inc. v. City of Atlanta, 451 F.3d 1257, 1273 (11th

Cir. 2006). They can’t.

       Second, Plaintiffs haven’t established associational standing. To date, they haven’t

demonstrated that “any member” or volunteer “is substantially likely to be injured

because of the” Felon Restriction. Doc.46 at 16. They haven’t shown that excluded

felons have ever helped them with registration activities or will ever help them with
                                              10
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 11 of 29




registration activities. They haven’t identified a single member or volunteer who would

assist Plaintiffs’ registration activities but for the restriction. And they don’t conduct

background checks and don’t inquire into the criminal history of those who collect or

handle sensitive voter information. Doc.86-9 at 24-25. It’s therefore entirely speculative

whether the Felon Restriction actually harms Plaintiffs.

       Third, Plaintiffs haven’t established organizational standing. To date, they haven’t

shown that they are injured specifically by the Felon Restriction under a diversion-of-

resources theory. “[G]eneralizations” about diversion-of-resources are insufficient, but

that is all the evidence Plaintiffs have presented. Doc.46 at 13. They haven’t explained

in sufficient detail “what resources they are diverting, where those resources would have

gone before they were diverted, and why they are being diverted to combat the” Felon

Restriction “in particular—not ‘the Law’ as a whole.” Doc.46 at 17.

       As this Court explained at the preliminary-injunction stage, the evidence

presented by Plaintiffs at that stage of the case failed to establish associational or

organizational standing. See Doc.46. Plaintiffs have yet to remedy that defect, and it is

their burden to present sufficient evidence of standing at the summary-judgment stage

if they wish to continue their challenge to the Felon Restriction. See League of Women

Voters of Fla., 2021 U.S. Dist. LEXIS 254570, at *14.

       As such, Plaintiffs lack standing to challenge the Felon Restriction. Given the

material (or lack thereof) provided during the discovery phase, Plaintiffs remain unable

to establish standing. See Fed. R. Civ. P. 37(c)(1) (“If a party fails to provide information
                                             11
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 12 of 29




or identify a witness as required by Rule 26(a) or (e), the party is not allowed to use that

information or witness to supply evidence on a motion, at a hearing, or at a trial.”).

       2.     Plaintiffs Mount a Facial Challenge to the Felon Restriction.

       Before turning to the merits, and assuming that Plaintiffs have standing, the

Secretary notes that Plaintiffs mount a facial challenge to the Felon Restriction. They

can’t mount an as-applied challenge because, as discussed above, they haven’t identified

a single member or volunteer who is affected by this restriction. Plaintiffs thus face

tough sledding: facial challenges are the most difficult constitutional challenges to

mount, and they must prove that no set of circumstances exist under which the restriction

would be constitutional. See United States v. Salerno, 481 U.S. 739, 745 (1987). That

standard hasn’t been met here.

B.     Plaintiffs’ Constitutional Claims Fail.

       The free-speech, free-association, overbreadth, and vagueness claims must fail as

a matter of law. Each is discussed in turn.

       1.     Plaintiffs’ Free-Speech Claim Fails.

       The First Amendment protects the freedom of speech. At its core is the freedom

to engage in “political discourse,” a “direct one-on-one communication” about politics.

Meyer v. Grant, 486 U.S. 414, 424 (1988). But not everything is speech. Conduct is

different from speech, and only expressive conduct—conduct where there’s a “great”

“likelihood” that those “who view[]” the conduct would understand that a message is

being conveyed—is protected by the First Amendment. Texas v. Johnson, 491 U.S. 397,
                                              12
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 13 of 29




404 (1989). “Conduct does not become speech for First Amendment purposes merely

because the person engaging in the conduct intends to express an idea.” Voting for Am.,

Inc. v. Steen, 732 F.3d 382, 388 (5th Cir. 2013) (quoting Rumsfeld v. FAIR, 547 U.S. 47,

66 (2006)). Nor does non-expressive conduct become speech when combined with an

activity that involves speech. Id. at 390-92.

       a. Here, Plaintiffs contend that the Felon Restriction violates their First

Amendment rights. They argue that it curtails their “core political speech”: their

“interactive communications and activities aimed at encouraging eligible Floridians to

register to vote and participate in the democratic process.” Doc.1 ¶ 83. This includes,

in part, “persuad[ing] Floridians to participate in democracy,” and “convincing them

that voter registration is a safe and worthwhile endeavor.” Doc.1 ¶ 84. Plaintiffs cite

Meyer v. Grant, 486 U.S. at 414, and Buckley v. American Constitutional Law Foundation, 525

U.S. 182 (1999), for these propositions. Doc.1 ¶ 82.

       These arguments are unavailing. The Felon Restriction doesn’t impinge on any

core political speech. Indeed, it restricts no speech at all. Plaintiffs may engage in

political speech when any of their members or volunteers—excluded felons or

otherwise—approach voters, discuss politics with them, encourage them to register to

vote, and answer questions about the voter-registration process. But no speech is

affected by the Felon Restriction. Any member or volunteer—excluded felon or

otherwise—can still do any of those things.


                                            13
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 14 of 29




       What an excluded felon can’t do is the conduct that (may) come after: taking a

completed voter-registration form and transporting it to the relevant governmental

actor. 3 No speech is taking place during this conduct. It’s simply conduct, and non-

expressive conduct at that. It’s conduct that can only be described as a ministerial action:

transporting a form from Point A to Point B, as required by State law, and under threat

of penalty if done incorrectly. See, e.g., Fla. Stat. § 97.0575. It’s an “administrative”

function “of the electoral process—the handling of voter registration applications by

third-party voter registration organizations after they have been collected from

applicants.” League of Women Voters of Fla. v. Browning, 575 F. Supp. 2d 1298, 1322 (S.D.

Fla. 2008) (emphasis in the original). It’s a means of “facilitating” the voter-registration

process. Feldman v. Reagan, 843 F.3d 366, 392-93 (9th Cir. 2016) (discussing a ballot-

collection statute).

       The action at issue is not speech. It is not inherently expressive conduct. No one

would view this conduct as conveying any message. Johnson, 491 U.S. at 404. No one

would view a postal worker as “speaking” when she delivers a completed voter-

registration form to a supervisor of elections; the postal worker is just complying with

the requirements of her job and doesn’t “speak” by engaging in this conduct. Nor would

anyone view a garbage man as “speaking” on environmental issues when he picks up

trash, or view a delivery man as “speaking” in support of FedEx’s working conditions,


       3
        The Secretary discusses the definitions of “collecting” and “handling” when
addressing Plaintiffs’ vagueness challenge further below.
                                           14
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 15 of 29




or “speaking” in support of the latest BarkBox assortment, when he delivers a package.

Sometimes, non-expressive conduct is just non-expressive conduct, and not speech.

Again, with 3PVROs, the pertinent protected speech occurs before collecting or handling

completed voter-registration forms. FAIR, 547 U.S. at 66. The later non-expressive

conduct (collecting or handling) is divorced from the earlier speech (encouraging

registration).

       Even so, Plaintiffs rely on Meyer and Buckley, two citizen-initiative petition cases.

Those cases are distinguishable, for two reasons. First, a citizen-initiative petition isn’t

like a voter-registration form. The citizen-initiative petition is itself speech. Voting for

Am., Inc. v. Andrade, 488 F. App’x 890, 898 n.13 (5th Cir. 2012). A pregnant-pig-

protection petition expresses political support for protecting pregnant pigs. That’s

different from a completed voter-registration form. A completed form doesn’t convey

a message like a citizen-initiative petition; it’s just an administrative means to register to

vote. To the extent that it could be viewed as speech, it’s the voter’s speech—not the

3PVRO’s speech. And a 3PVRO doesn’t “speak” by moving someone else’s “speech”

from Point A to Point B. Steen, 732 F.3d at 390.

       And second, the State laws in Meyer and Buckley were different in kind from the

Felon Restriction. The Meyer and Buckley restrictions were speech restrictions,

restrictions on citizen-initiative-petition advocacy (in Meyer, paid circulators couldn’t

collect signatures and circulate petitions, 486 U.S. at 417), and restrictions on how the

advocacy was to take place (in Buckley, in part, circulators had to wear name badges, 525
                                             15
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 16 of 29




U.S. at 197-200). That’s different from the Felon Restriction. The restriction doesn’t

touch advocacy at all, only collecting or handling completed forms, which, again, is just

non-expressive conduct. The restriction therefore doesn’t reduce the “quantum” of

advocacy. Meyer, 486 U.S. at 423. The quantum remains the same: excluded felons can

still advocate, they just can’t move completed forms.

       b. Plaintiffs also argue that the Felon Restriction is a content-based and a

viewpoint-based restriction on speech. They state that the Felon Restriction “define[s]

the coverage of” its “restriction[] and prohibition[] based on the subject of” Plaintiffs’

“speech,” which “aims to promote voter registration. Similar speech by the League”

Plaintiffs “or other similar organizations discouraging voter registration would be entirely

unaffected by SB 7050’s provisions.” Doc.1 ¶ 87 (emphases in the original). Not so.

       Put aside the fact that collecting or handling completed voter-registration forms

isn’t speech or expressive conduct. The Felon Restriction could just as well apply to

groups that wish to discourage voter participation. A nefarious 3PVRO could have the

stated mission of discouraging voter participation. It could use excluded felons to

register individuals to vote, with the aim of throwing away completed voter-registration

forms, thus fulfilling its mission. The Felon Restriction would still apply to that

nefarious 3PVRO. Excluded felons, after all, would be collecting and handling

completed voter-registration forms, from Point A to Point Trash Can. See Steen, 732

F.3d at 391-92 (discussing this hypothetical); Andrade, 488 F. App’x at 898 n.14 (same).

So Plaintiffs’ arguments aren’t right; the restriction applies to every 3PVRO, regardless
                                            16
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 17 of 29




of organizational mission. It doesn’t touch any speech subject (like a content-based

restriction) or viewpoint (like a viewpoint-based restriction).

       Plaintiffs’ argument also underscores that moving completed forms from Point

A to Point B isn’t speech, even if there’s some organizational aim associated with it. If

Plaintiffs’ argument holds true—moving a completed form is speech because it’s tied

with an organizational mission—then that nefarious 3PVRO’s actions—throwing out

completed forms to further its voting-discouragement mission—is also protected

speech. Steen, 732 F.3d at 391-92 (discussing this hypothetical); Andrade, 488 F. App’x

at 898 n.14 (same). But that can’t be right. The First Amendment shouldn’t and doesn’t

tolerate this result.

       c. The Felon Restriction withstands any level of constitutional scrutiny—strict

scrutiny, Anderson-Burdick balancing, 4 or rational basis. With strict scrutiny, an election

regulation must be narrowly tailored to meet a compelling governmental interest. Burson

v. Freeman, 504 U.S. 191, 198 (1992). With Anderson-Burdick balancing, if an election

regulation is reasonable and nondiscriminatory, and if the regulation imposes a modest

burden on the right to associate, it need be only backed by an important governmental

interest. Wash. State Grange v. Wash. State Republican Party, 552 U.S. 442, 451-52 (2008).

And under rational-basis review, an election regulation need only be backed by a



       4
         3PVRO plaintiffs don’t have any right to vote and shouldn’t be allowed to
pursue any right-to-vote related claims. This motion, and only this motion, assumes
that the Anderson-Burdick test applies. And if it does, the test is met.
                                           17
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 18 of 29




reasonable governmental justification, even one backed by rational speculation. FCC v.

Beach Comm’ns, 508 U.S. 307, 315 (1993).

       Conceptually, if strict scrutiny is met, then all the other tests should be satisfied.

For strict scrutiny, the State has “compelling interests” in “maintaining fairness,

honesty, and order” in its elections, and “avoiding confusion, deception, and even

frustration of the democratic process.” Green v. Mortham, 155 F.3d 1332, 1335 (11th Cir.

1998) (citing and quoting cases). A State also has “a compelling interest in preserving

the integrity of its election process,” including preventing “[v]oter fraud” and ensuring

public “[c]onfidence.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (citing and quoting cases).

       As explained above, there is a history of 3PVROs behaving badly in Florida. In

2022 alone, thousands of eligible Florida voters had their voter-registration applications

untimely submitted by 3PVROs. Doc.86-1 at 5. And Florida voters were the victims of

criminal activity caused by 3PVRO felon canvassers. Doc.86-6. Those who entrusted

Hard Knocks—and their felon canvassers with completed forms—serve as prime

examples for why the State enacted the Felon Restriction. Docs.86-2, 86-3, 86-4, 86-5.

       Badly behaved 3PVROs have already denied Floridians their right to vote. The

harm to be remedied is real and the means being used to remedy it is narrowly tailored.

The Felon Restriction affects not all felons, but a subset of felons who violated the

Election Code, who have taken advantage of vulnerable populations, who have

committed extremely violent offenses (and who may not have their voting rights

restored), and who have veracity issues. And again, the restriction doesn’t prevent
                                             18
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 19 of 29




advocacy or core political speech. It only affects moving completed forms from Point

A to Point B. See also Doc.86-7 at 1-3 (providing interests for the Felon Restriction).

       As will be explained below, the Felon Restriction doesn’t hamper Plaintiffs’

associational rights in the slightest. Therefore, under any level of review—strict

scrutiny, Anderson-Burdick, rational basis—the restriction survives scrutiny. Plaintiffs’

free-speech claim fails.

       2.     Plaintiffs’ Free-Association Claim Fails.

       The First Amendment protects the freedom to associate. NAACP v. Alabama,

357 U.S. 449, 461 (1958). But the “right to associate for expressive purposes is not”

“absolute.” Roberts v. U.S. Jaycees, 468 U.S. 609, 623 (1984). In the elections context, if a

“reasonable, nondiscriminatory” election regulation “imposes only modest burdens”

on the right to associate, the regulation need only be justified by “important”

governmental interests. Wash. State Grange, 552 U.S. at 451-52.

       Here, Plaintiffs contend that the Felon Restriction violates their right to free

association. They argue that the restriction “prevent[s]” them “from freely banding

together with others through one of” their “central associational activities: voter

registration drives,” thus “hamstring[ing]” their “attempts to associate with Florida

citizens by encouraging them to register to vote and participate in the political process.”

Doc.1 ¶ 98. Plaintiffs also suggest that they will be forced to “probe” “members’ and

supporters’” “criminal history and exclude individuals from” their “associational


                                             19
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 20 of 29




activities based on such information,” and that Plaintiffs may face penalties for

“inadvertent errors and omissions.” Doc.1 ¶¶ 100-01.

       Plaintiffs’ arguments miss the mark. The Felon Restriction doesn’t prevent

Plaintiffs from associating with anyone. Those who violate the Election Code, those

who exploit the elderly and disabled, and those who commit sexual offenses, murder,

fraud, forgery, counterfeiting, and perjury can still become members of or 3PVRO

volunteers for Plaintiffs. They can advocate on Plaintiffs’ behalf. They can approach

voters, discuss politics with them, encourage them to register to vote, and answer

questions about the voter-registration process. Plaintiffs can even have felons convicted

of violating the Election Code talk to voters about participating in democracy,

encourage eligible voters to register to vote, explain how to comply with election

regulations, and hand out blank registration forms to voters. The Felon Restriction

prevents none of that.

       Those individuals, however, just can’t collect or handle a completed voter-

registration form under the Felon Restriction. That’s it. The prohibition is remarkably

modest, and it pales in comparison to other felon-related restrictions under Florida law.

See, e.g., Fla. Stat. § 1012.315 (certain felons can’t be teachers); Fla. Stat. § 943.13 (certain

felons can’t be prison guards); Fla. Bar Admissions R. 2-13.3 (convicted felons can’t

apply to be lawyers unless their civil rights have been restored). Again, excluded felons

can still participate in registration activities under the Felon Restriction—they just can’t


                                               20
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 21 of 29




collect or handle completed voter-registration forms. Plaintiffs’ associational concerns

are therefore nonexistent.

         So are their worries about incurring penalties and probing their membership’s

and volunteers’ criminal histories. Rule 1S-2.042(6)(e) states that if a person collecting

or handling applications on behalf of a 3PVRO signs a form, attesting that he or she

isn’t an excluded felon, the 3PVRO won’t be fined if, in fact, the person is an excluded

felon:

         A 3PVRO may, pursuant to section 97.0575(1)(e)-(f), F.S., require each
         person collecting or handling voter registration applications on behalf of
         the 3PVRO to sign written declarations using Form DS-DE 127 declaring
         under penalty of perjury that he or she has not been convicted of a felony
         enumerated in section 97.0575(1)(e), F.S. . . . A 3PVRO shall not be
         subject to a fine pursuant to section 97.0575(1)(e)-(f), F.S., as applicable,
         for permitting a felon . . . to handle or collect voter registration
         applications on behalf of the 3PVRO if the 3PVRO has a Form DS-DE
         127 signed by the felon . . . prior to collecting or handling voter registration
         applications on behalf of the 3PVRO.

Doc.86-8 at 3; Fla. Admin. Code. R. 1S-2.042(6)(e). Plaintiffs’ arguments don’t carry

any water. The Felon Restriction doesn’t affect Plaintiffs’ associational rights at all. And

even if they did, the effect is minimal, and the restriction survives constitutional review

for the reasons expressed above.

         3.     Plaintiffs’ Overbreadth Claim Fails.

         The overbreadth doctrine is “strong medicine,” and it’s not to be “casually

employed.” United States v. Williams, 553 U.S. 285, 293 (2008). “To justify facial

invalidation, a law’s unconstitutional applications must be realistic, not fanciful, and

                                               21
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 22 of 29




their number must be substantially disproportionate to the statute’s lawful sweep.”

United States v. Hansen, 143 S. Ct. 1932, 1939 (2023). “[P]erfection is not required.”

Cheshire Bridge Holdings, LLC v. City of Atlanta, 15 F.4th 1362, 1378 (11th Cir. 2021).

       Plaintiffs contend that the Felon Restriction is “overbroad because” it

“prohibit[s] entire classes of people from engaging in political expression by

participating in voter registration efforts with the League” Plaintiffs. Doc.1 ¶ 113. That

is incorrect.

       Again, the restriction doesn’t touch speech, so Plaintiffs’ overbreadth challenge

fails. But putting that aside, and taking a look at “what” the restriction “covers,” Hansen,

143 S. Ct. at 1940, the Felon Restriction concerns a subset of felony convictions. Those

felonies involve flouting the Election Code, taking advantage of vulnerable populations,

committing extremely violent offenses (which do not result in the automatic restoration

of voting rights under Amendment 4), and engaging in deceit. The restriction doesn’t

prevent excluded felons from conducting registration activities. They just can’t collect

or handle completed voter-registration forms.

       Plaintiffs argue that the restriction “applies to potential volunteers who have

been convicted of crimes that provide no indication they are likely to commit fraud or

otherwise dishonestly register voters on behalf of the League” Plaintiffs. Doc.27 at 47-

48. Plaintiffs, in essence, argue that felony convictions for sexual offenses and murder

shouldn’t be included in the Felon Restriction. But for those convicted of these felonies,

their voting rights are not automatically restored under Amendment 4 and may not be
                                            22
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 23 of 29




ever restored, absent clemency. See Fla. Const. art. VI, § 4(b). As with the justification

for SB7050’s citizen-volunteer restriction, voters should control Florida’s voting

processes. Moreover, felony sexual offenses and murder are serious enough offenses to

doubt an individual’s ability to handle sensitive and personal voting information; if you

don’t respect bodily integrity and life, you probably won’t respect someone else’s drivers

license number or identification card number—the opposite of what a fiduciary should

be doing.

       Plaintiffs also argue that the restriction applies “to people with decades-old

convictions and those whose rights have been restored.” Doc.27 at 47-48. That’s true

as far as it goes. But “people with decades-old convictions” may still disrespect the

Election Code, take advantage of vulnerable populations, and have veracity issues, and

may still not have their voting rights restored. The restriction on “those whose rights

have been restored” doesn’t make the Felon Restriction’s sweep unconstitutional.

“[P]erfection is not required.” Cheshire Bridge Holdings, 15 F.4th at 1378.

       Like their free-speech and free-association claims, Plaintiffs’ overbreadth claim

must fail as well.

       4.     Plaintiffs’ Vagueness Claim Fails.

       “Facial vagueness occurs when a statute is utterly devoid of a standard of conduct

so that it simply has no core and cannot be validly applied to any conduct.” High Ol’

Times, Inc. v. Busbee, 673 F.2d 1225, 1228 (11th Cir. 1982). In other words, “[v]agueness

arises when a statute is so unclear as to what conduct is applicable that persons of
                                            23
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 24 of 29




common intelligence must necessarily guess at its meaning and differ as to its

application.” Indigo Room, Inc. v. City of Fort Myers, 710 F.3d 1294, 1301 (11th Cir. 2013).

This is a high bar. Sistersong Women of Color Reprod. Just. Collective v. Governor of Ga., 40

F.4th 1320, 1327 (11th Cir. 2022).

       Here, Plaintiffs assert a facial vagueness challenge against the Felon Restriction.

They argue that the restriction “contains no exceptions for individuals who have been

convicted of the felony offenses specified in the statute but who had their civil and

voting rights restored by Amendment 4 or who have received a pardon from the

Governor,” and that it’s “not clear from the text of SB 7050 whether or how” the

restriction “applies to voter registration volunteers who have been convicted of

comparable felonies in federal court or other states.” Doc.1 ¶¶ 124-25. Plaintiffs also

claim that the terms “collect[]” and “handle[]” in the restriction are undefined and

vague, and raise questions about how the Felon Restriction interacts with § 97.0575’s

registration-agents provision. Doc.1 ¶ 126.

       Plaintiffs’ arguments, however, don’t get them far. A vagueness challenge turns

on whether a statutory provision has an understandable core. High Ol’ Times, 673 F.2d

at 1228. The Felon Restriction has one. It lists specific felony offenses. The restriction

doesn’t include any vague offenses, like loitering. City of Chicago v. Morales, 527 U.S. 41,

45 (1999). The restriction is clear.

       The meanings of “collect[]” and “handle[]” are also clear. “[A] statute is not

ambiguous merely because it contains a term without a statutory definition.” United
                                             24
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 25 of 29




States v. Sepulveda, 115 F.3d 882, 886 n.9 (11th Cir. 1997). “[C]ollect” is commonly

understood to mean “to gather” “from a number of persons.” Merriam-Webster’s

Collegiate Dictionary 243 (11th ed. 2005). “[H]andle” ordinarily means “to manage with

the hands.” Merriam-Webster’s Collegiate Dictionary 565 (11th ed. 2005); see The American

Heritage Dictionary 796 (5th ed. 2018) (same).

       Both words thus require some physical custody. The physical custody

requirement becomes clearer still when considering the words together. For example, a

postal worker who “collects” letters from mailboxes takes physical possession of the

letters. She continues to “handle” the letters on behalf of the senders until she gives

them to the recipient or another postal worker responsible for processing the letters.

       “Person[s] collecting or handling voter registration applications on behalf of

[3PVROs]” are much like the postal worker. See Fla. Stat. § 97.0575(5)(a); see also Fla.

Stat. § 97.053 (providing an avenue for the “hand deliver[y]” of voter-registration forms

by the applicant or a “third party”). They “collect” physical forms directly from

applicants, and continue to “handle” the physical forms on behalf of the applicants until

taking the forms to the Division of Elections, the supervisor of elections for the county

in which the applicant resides, or to another agent of the 3PVRO responsible for

actually delivering the forms to election officials.

       All told, the statute provides people of reasonable intelligence with notice of

what “collecting or handling” voter-registration forms means: physically collecting or


                                             25
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 26 of 29




handling completed voter-registration forms—not blank forms—or otherwise

exercising custody over completed forms.

       To the extent that Plaintiffs harbor doubts about the meaning of the statute

because the word “handle” can also mean “to have overall responsibility for supervising

or directing,” Merriam-Webster’s Collegiate Dictionary 565 (11th ed. 2005), they ignore the

statute’s context. The statutory prohibition applies to “collecting or handling voter

registration applications,” Fla. Stat. § 97.0575(1)(e) (emphasis added), not collecting or

handling persons who collect or handle voter-registration forms.

       It also bears noting that the Department of State’s rulemaking further allays any

doubts as to the meanings of “collect” and “handle”:

       [F]or purposes of section 97.0575(1)(e)-(f), F.S., means physically
       exercising custody over voter registration applications containing a voter’s
       personal information. It does not include distributing blank voter
       registration applications, supervising the collecting or handling of voter
       registration applications, assisting a voter who requests assistance to fill
       out their voter registration application, or facilitating the voter to register
       electronically through registertovoteflorida.gov.

Doc.86-8 at 1; Fla. Admin. Code. R. 1S-2.042(3)(c).

       Plaintiffs’ other concerns are meritless. They contend that the Felon Restriction

“contains no exceptions for individuals who have been convicted of the felony offenses

specified in the statute but who have had their civil and voting rights restored by

Amendment 4 or who have received a pardon from the Governor.” Doc.1 ¶ 124. But

this exception and argument has nothing to do with whether SB7050 is vague.


                                             26
     Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 27 of 29




       Plaintiffs also contend that it’s “not clear from the text of SB 7050 whether or

how” the restriction “applies to voter registration volunteers who have been convicted

of comparable felonies in federal court or other states.” Doc.1 ¶ 125. But this

argument—as well as Plaintiffs’ argument concerning how the Felon Restriction

interacts with the registration-agents provision of § 97.0575—rings more of an as-

applied argument than a facial argument. Sistersong, 40 F.4th at 1328. This doesn’t make

the restriction facially vague.

       In sum, Plaintiffs’ vagueness claim, like all of their claims, fails.

                                      V. Conclusion

       For the foregoing reasons, this Court should enter summary judgment as to the

League Plaintiffs’ free-speech, free-association, overbreadth, and vagueness claims

against the Felon Restriction.




                                             27
   Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 28 of 29




Dated: January 18, 2024                 Respectfully submitted,

Bradley R. McVay (FBN 79034)            /s/ Mohammad O. Jazil
brad.mcvay@dos.myflorida.com            Mohammad O. Jazil (FBN 72556)
Joseph Van de Bogart (FBN 84764)        mjazil@holtzmanvogel.com
joseph.vandebogart@dos.myflorida.com    Joshua E. Pratt (FB 119347)
Ashley Davis (FBN 48032)                jpratt@holtzmanvogel.com
ashley.davis@dos.myflorida.com          Michael Beato (FBN 1017715)
FLORIDA DEPARTMENT OF STATE             mbeato@holtzmanvogel.com
R.A. Gray Building                      zbennington@holtzmanvogel.com
500 S. Bronough St.                     HOLTZMAN VOGEL BARAN
Tallahassee, FL 32399                   TORCHINSKY & JOSEFIAK
(850) 245-6536                          119 S. Monroe St. Suite 500
                                        Tallahassee, FL 32301
                                        (850) 270-5938

                                        John J. Cycon (NYBN 5261912)*
                                        HOLTZMAN VOGEL BARAN
                                        TORCHINSKY & JOSEFIAK
                                        15405 John Marshall Hwy
                                        Haymarket, VA 20169
                                        Telephone: (212) 701-3402
                                        jcycon@holtzmanvogel.com

                                        Counsel for Secretary Byrd

                                        *Admitted pro hac vice




                                       28
    Case 4:23-cv-00216-MW-MAF Document 87 Filed 01/18/24 Page 29 of 29




                            Certificate of Compliance

      I certify that the summary-judgment memorandum is 6,127 words, which is

under the 8,000-word limit in Local Rule 56.1(B). I also certify that this document

complies with the typeface and formatting requirements in Local Rule 5.1.

                                              /s/ Mohammad O. Jazil
                                              Mohammad O. Jazil

                               Certificate of Service

      I certify that on January 18, 2024, this document was uploaded to CM/ECF,

which sends the document to all counsel of record.

                                              /s/ Mohammad O. Jazil
                                              Mohammad O. Jazil




                                         29
